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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------- x
In re:                                                              :   Chapter 11
                                                                    :
SEARS HOLDINGS CORPORATION, et al.,                                 :   Case No. 18-23538 (RDD)
                                                                    :
                                                                    :   (Jointly Administered)
                             1
                  Debtors.                                          :
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            ORDER AUTHORIZING PROCEDURES FOR INTERIM
    COMPENSATION AND REIMBURSEMENT OF EXPENSES OF PROFESSIONALS

                  Upon the motion, dated November 1, 2018 (the “Motion”)2 of Sears Holdings

Corporation and its debtor affiliates, as debtors and debtors in possession in the above-captioned

chapter 11 cases (collectively, the “Debtors”), pursuant to sections 105, 330 and 331 of title 11

of the United States Code (the “Bankruptcy Code”), Rule 2016 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2016-1 of the Local Bankruptcy

Rules for the Southern District of New York (the “Local Rules”), for an order authorizing the


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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart Operations
LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774); SHC Licensed
Business LLC (3718); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn &
Garden, LLC (5028); A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc.
(7180); Kmart Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co.
(6028); Sears Holdings Management Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears
Home Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services,
Inc. (2859); Sears Protection Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck
Acceptance Corp. (0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs LLC
(None); SHC Promotions LLC (9626); Big Beaver of Florida Development, LLC (None); California Builder
Appliances, Inc. (6327); Florida Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC, Inc. (0839);
Kmart of Michigan, Inc. (1696); Kmart of Washington LLC (8898); Kmart Stores of Illinois LLC (8897); Kmart
Stores of Texas LLC (8915); MyGofer LLC (5531); Sears Brands Business Unit Corporation (4658); Sears Holdings
Publishing Company, LLC. (5554); Sears Protection Company (Florida), L.L.C. (4239); SHC Desert Springs, LLC
(None); SOE, Inc. (9616); StarWest, LLC (5379); STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC
(None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); Kmart.com
LLC (9022); and Sears Brands Management Corporation (5365). The location of the Debtors’ corporate
headquarters is 3333 Beverly Road, Hoffman Estates, Illinois 60179.
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  Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such terms
in the Motion.
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Debtors to establish an orderly, regular process for the monthly allowance and payment of

compensation and reimbursement of expenses (the “Interim Compensation Procedures”) for

professionals whose services are authorized by this Court pursuant to sections 327, 328, or 1103

of the Bankruptcy Code and who will be required to file applications for allowance of

compensation and reimbursement of expenses pursuant to sections 330 and 331 of the

Bankruptcy Code and Bankruptcy Rule 2016(a) with the procedures described in the Motion, all

as more fully set forth in the Motion; and the Court having jurisdiction to consider the Motion

and the relief requested therein in accordance with 28 U.S.C. §§ 157(a)-(b) and 1334(b) and the

Amended Standing Order of Reference M-431, dated January 31, 2012 (Preska, C.J.); and

consideration of the Motion and the relief requested therein being a core proceeding pursuant to

28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and

1409; and notice of the Motion having been given as provided in the Motion, and such notice

having been adequate and appropriate under the circumstances, and it appearing that no other or

further notice need be provided; and there being no objections to the Motion or the entry of this

Order; and no hearing on the Motion being required under the circumstances; and after due

deliberation the Court having found and determined that the relief sought in the Motion is in the

best interests of the Debtors, their estates, their creditors, and all parties in interest, and that the

legal and factual bases set forth in the Motion establish just cause for the relief granted herein;

and sufficient cause appearing therefor,

               IT IS HEREBY ORDERED THAT:

               1.      The Motion is granted to the extent set forth herein.


               2.      Except as may otherwise be provided by orders of this Court authorizing

the retention of specific professionals, all Retained Professionals and members of any statutory
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committee of creditors may seek interim compensation and/or reimbursement of expenses, as the

case may be, in accordance with the following Interim Compensation Procedures:


       A.      Monthly Statements

               (i)    On or before the last day of each month following the month for which
                      compensation is sought, or as soon as reasonably practicable thereafter,
                      each Retained Professional seeking compensation shall serve a monthly
                      statement (the “Monthly Statement”), by email, hand, or overnight
                      delivery, on the following parties (collectively, the “Notice Parties”):

                      (1)    Sears Holdings Corporation, 3333 Beverly Road, Hoffman Estates,
                             Illinois 60179 (Attn: Rob Riecker, Luke Valentino, Esq.);

                      (2)    the proposed attorneys for the Debtors, Weil, Gotshal & Manges
                             LLP, 767 Fifth Avenue, New York, NY 10153 (Attn: Ray C.
                             Schrock, P.C., Esq., Jacqueline Marcus, Esq., Garrett A. Fail, Esq.,
                             and Sunny Singh, Esq.);

                      (3)    the U.S. Trustee, 201 Varick Street, Suite 1006, New York, NY
                             10014 (Attn: Paul Schwartzberg, Esq., and Richard Morrissey,
                             Esq.);

                      (4)    Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New
                             York, NY 10036 (Attn: Philip C. Dublin, Esq., Ira Dizengoff, Esq.,
                             and Sara Lynne Brauner, Esq.), attorneys for the Official
                             Committee of Unsecured Creditors (the “Creditors’ Committee”);

                      (5)    Skadden, Arps, Slate, Meagher & Flom LLP, 4 Times Square,
                             New York, NY 10036 (Attn: Paul D. Leake, Esq., Shana A.
                             Elberg, Esq., and George R. Howard, Esq.), attorneys for Bank of
                             America, N.A., administrative agent under the First Lien Credit
                             Facility and the DIP ABL Agent.

               (ii)   On or before the last day of each month following the month for which
                      compensation is sought, or as soon thereafter as is practicable, each
                      Retained Professional shall file a Monthly Statement with the Court. A
                      courtesy copy need not be delivered to the Court because this Order is not
                      intended to alter the fee application requirements set forth in sections 330
                      and 331 of the Bankruptcy Code. Retained Professionals still shall be
                      required to serve and file interim and final applications for approval of
                      fees and expenses in accordance with the relevant provisions of the
                      Bankruptcy Code, the Bankruptcy Rules, and the Local Rules.



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               (iii)   Any Retained Professional that fails to file a Monthly Statement for a
                       particular month or months may subsequently submit a consolidated
                       Monthly Statement that includes a request for compensation earned or
                       expenses incurred during previous months.

               (iv)    Except as otherwise permitted by an order of the Court authorizing the
                       retention of a Professional, each Monthly Statement shall contain a list of
                       the individuals who provided services during the period covered by the
                       Monthly Statement, their respective titles (e.g., attorney, accountant,
                       paralegal, etc.), their respective billing rates, the aggregate hours spent by
                       each individual, a reasonably detailed breakdown of the disbursements
                       incurred, and contemporaneously maintained time entries for each
                       individual in increments of tenths (1/10) of an hour unless otherwise
                       ordered by the Court.

               (v)     Each Notice Party shall have fifteen (15) days after receipt of a Monthly
                       Statement to review it and, if such party has an objection to the
                       compensation or reimbursement sought in a particular Monthly Statement
                       (an “Objection”), such party shall, by no later than the fifteen (15) days
                       following the filing of the Monthly Statement (the “Objection Deadline”),
                       serve upon the Retained Professional whose Monthly Statement is the
                       subject of an Objection, and the Notice Parties, a written “Notice of
                       Objection to Fee Statement,” setting forth the nature of the Objection and
                       the amount of fees or expenses at issue.

               (vi)    At the expiration of the Objection Deadline, the Debtors promptly shall
                       pay 80% of the fees and 100% of the expenses identified in each Monthly
                       Statement to which no Objection has been served in accordance with
                       paragraph (v) above.

               (vii)   If an Objection to a particular Monthly Statement is filed and served, the
                       Debtors shall withhold payment of that portion of the Monthly Statement
                       to which the Objection is directed and promptly pay the remainder of the
                       fees and disbursements in the percentages set forth in paragraph (vi)
                       above.

               (viii) If an Objection is resolved, the Retained Professional whose Monthly
                      Statement was the subject of the Objection shall serve a statement on the
                      Notice Parties indicating that the Objection has been withdrawn and
                      describing in detail the terms of the resolution, and the Debtors promptly
                      shall pay, in accordance with paragraph (vi) above, that portion of the
                      Monthly Statement that is no longer subject to the Objection.

               (ix)    All Objections that are not resolved by the parties shall be preserved and
                       presented to the Court at the next interim or final fee application hearing
                       to be heard by the Court in accordance with section B below.

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               (x)     The service of an Objection in accordance with paragraph (v) above shall
                       not prejudice the objecting party’s right to object to any fee application
                       made to the Court in accordance with the Bankruptcy Code on any
                       ground, whether raised in the Objection or otherwise. Furthermore, the
                       decision by any party not to object to a Monthly Statement shall not be a
                       waiver of any kind and shall not prejudice that party’s right to object to
                       any fee application subsequently made to the Court in accordance with the
                       Bankruptcy Code.

      B.       Interim Fee Applications

               (i)     Commencing with the period ending February 28, 2019 and at four-month
                       intervals thereafter (the “Interim Fee Period”), each of the Retained
                       Professionals    shall     file    with  the     Court    an    application
                       (an “Interim Fee Application”) for interim Court approval and
                       allowance, pursuant to section 331 of the Bankruptcy Code of the
                       compensation and reimbursement of expenses requested in the Monthly
                       Statements served during such Interim Fee Period. Each Retained
                       Professional shall file its Interim Fee Application no later than forty-five
                       (45) days after the end of the Interim Fee Period. The first Interim Fee
                       Application shall cover the Interim Fee Period from the Commencement
                       Date through and including February 28, 2019.

               (ii)    The Debtors’ attorneys shall obtain a date from the Court for the hearing
                       to consider Interim Fee Applications for all Retained Professionals
                       (the “Interim Fee Hearing”). At least thirty (30) days prior to the Interim
                       Fee Hearing, the Debtors’ attorneys shall file a notice with the Court, with
                       service upon the U.S. Trustee and all Retained Professionals, setting forth
                       the time, date, and location of the Interim Fee Hearing, the period covered
                       by the Interim Fee Applications, and the Objection Deadline. Any
                       Retained Professional unable to file its own Interim Fee Application with
                       the Court shall deliver to the Debtors’ attorneys a fully executed copy with
                       original signatures, along with service copies, of such Interim Fee
                       Application three business days before the filing deadline. The Debtors’
                       attorneys shall file and serve such Interim Fee Application with the Court.

               (iii)   Any Retained Professional who fails to timely file an Interim Fee
                       Application seeking approval of compensation and expenses previously
                       paid pursuant to a Monthly Statement shall (a) be ineligible to receive
                       further monthly payments of fees or reimbursement of expenses as
                       provided herein until such Interim Fee Application is filed, and (b) may be
                       required to disgorge any fees paid since retention or the last fee
                       application, whichever is later.

               (iv)    The pendency of an Interim Fee Application or a Court order that payment
                       of compensation or reimbursement of expenses was improper as to a
                       particular Monthly Statement shall not disqualify a Retained Professional
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                        from the future payment of compensation or reimbursement of expenses as
                        set forth above, unless otherwise ordered by the Court.

                 (v)    Neither the payment of, nor the failure to pay, in whole or in part, monthly
                        compensation and reimbursement as provided herein shall have any effect
                        on this Court’s interim or final allowance of compensation and
                        reimbursement of expenses of any Retained Professionals.

                 (vi)   The attorneys for the Creditors’ Committee may, in accordance with the
                        Interim Compensation Procedures, collect and submit statements of
                        expenses, with supporting vouchers, from members of the Creditors
                        Committee; provided, that these reimbursement requests must comply
                        with the Bankruptcy Court’s Amended Guidelines for Fees and
                        Disbursements for Professionals in Southern District of New York
                        Bankruptcy Cases, dated January 29, 2013 and any other applicable fee
                        and expense guidelines adopted by the Court.

                 3.     The Debtors shall include all payments to Retained Professionals on their

monthly operating reports, detailed so as to state the amount paid to each Retained Professional;

provided that amounts paid to ordinary course professionals may be stated in the aggregate on

any monthly operating reports.


                 4.     Any party may object to requests for payments made pursuant to this

Order on the grounds that the Debtors have not timely filed monthly operating reports, remained

current with their administrative expenses and 28 U.S.C. § 1930 fees, or a manifest exigency

exists by seeking a further order of this Court, otherwise, this Order shall continue and shall

remain in effect during the pendency of this case.


                 5.     All time periods set forth in this Order shall be calculated in accordance

with Bankruptcy Rule 9006(a).


                 6.     The Debtors shall serve a copy of this Order on each of the Retained

Professionals.


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               7.      Notice of hearings to consider Interim Fee Applications and final fee

applications shall be limited to the Notice Parties and any party who files a notice of appearance

and requests notice in these chapter 11 cases.


               8.      Notwithstanding anything in the Motion or this Order to the contrary, any

payment made or action taken by any of the Debtors pursuant to the authority granted herein, as

well as the exercise of any and all other rights and authorizations granted or approved hereunder,

shall be subject in all respects to, as applicable: (i) the orders approving the Debtors' use of cash

collateral and/or post-petition debtor-in-possession financing facilities (collectively, the “DIP

Orders”); (ii) the other documentation governing the Debtors’ use of cash collateral and

postpetition financing facilities; and (iii) the Approved Budget (as defined in the DIP Orders).


               9.      To the extent there is any inconsistency between the terms of any of the

DIP Orders and this Order, the terms of the DIP Order (or DIP Orders, as applicable) shall

control.


               10.     The Debtors are authorized to take all action necessary to effectuate the

relief granted in this Order.




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               11.    The Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, and/or enforcement of this Order.




Dated: November 16, 2018
       White Plains, New York
                                              /s/Robert D. Drain
                                              THE HONORABLE ROBERT D. DRAIN
                                              UNITED STATES BANKRUPTCY JUDGE




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